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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JEANNE OLSON as successor plaintiff             )
for WILLIAM E. AMOR,                            )
                                                )
                Plaintiff,                      )
                                                )      No. 18 C 02523
                v.                              )
                                                )      Judge John J. Tharp, Jr.
REBECCA GOMEZ as Special                        )
Representative for the Estate of                )
MICHAEL CROSS; ROBERT                           )
GUERRIERI; and the CITY OF                      )
NAPERVILLE,                                     )
                                                )
                Defendants.
                                                )

                                            ORDER

       The Court rules on the parties’ objections to the deposition designations of Dr. Michael
Chiapetta, Rusell S.E. Wiedemann, David Bayer, William Amor, and Michael Cross as outlined
below.

I.       Dr. Michael Chiapetta

       The defendants’ following objections to the plaintiff’s designations of Dr. Michael
Chiapetta’s prior testimony are OVERRULED:

     •   13:1-2
     •   13:22-14:4
     •   17:18-20
     •   18:3-19:5
     •   20:10-21:2
     •   36:3-38:6, 38:15
     •   50:8-10
     •   50:19-20

       The defendants’ following objections to the plaintiff’s designations of Dr. Michael
Chiapetta’s prior testimony are OVERRULED in part and SUSTAINED in part, subject to the
noted changes:

     •   12:20-21: Lines 12:22-24 must also be included.
            o Amended designation: 12:20-24.
     •   42:11-43:14, 43:20-44:17: Lines 44:10-17 may not be included.
            o Amended designation: 42:11-43:14, 43:20-44:9.
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       The defendants’ following objection to the plaintiff’s designations of Dr. Michael
Chiapetta’s prior testimony is SUSTAINED:

       •   23:7-12.

       The plaintiff’s following objection to the defendants’ counter designation of Dr. Michael
Chiapetta’s prior testimony is OVERRULED:

       •   48:2-9.

II.        Russell S.E. Wiedemann

     The defendants’ following objections to the plaintiff’s designations of Russell S.E.
Widemann’s prior testimony are OVERRULED:

       •   72:24-73:2
       •   73:15-74:7, 74:17-21
       •   76:11-20
       •   76:21-77:7
       •   84:21-85:13
       •   81:23-82:1, 82:4: The objection recorded at lines 82:2-3 may not be included.

III.       David Bayer

       The plaintiff’s following objection to the defendants’ designations of David Bayer’s
deposition testimony is OVERRULED:

       •   84:13-17

       The plaintiff’s following objections to the defendants’ designations of David Bayer’s
deposition testimony are SUSTAINED:

       •   27:19-28:11
       •   29:5-9
       •   32:1-33:1
       •   37:11-40:17
       •   41:6-42:1
       •   47:14-23
       •   80:4-16
       •   81:12-82:22
       •   84:13-17
       •   85:11-86:1




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IV.       William Amor

          A.     Deposition in Olson v. Gomez et al

       The defendants’ following objections to the plaintiff’s designations of William Amor’s
deposition testimony in Olson v. Gomez et al are OVERRULED:

      •   148:14-20
      •   184:19-24
      •   267:13-270:11, 270:24-271:4
      •   279:3-8
      •   370:15-21

        The defendants’ following objections to the plaintiff’s designations of William Amor’s
deposition testimony in Olson v. Gomez et al are OVERRULED in part and SUSTAINED in
part, subject to the noted changes:

      •   28:15-20, 29:7-30:2, 30:18-31:7: Lines 28:20, 29:7-9, and 29:17-30:2 may not be included.
             o Amended designation: 28:15-19, 29:10-16, 30:18-31:7.
      •   184:19-187:12: Lines 187:2-12 may not be included.
             o Amended designation: 184:19-187:1.
      •   374:2-9, 374:10-375:1: The lines beginning with the second sentence of 374:15 through
          375:1 may not be included.
             o Amended designation: 374:2-9, 374:10-374:15 (through “1972.”).

       The defendants’ following objections to the plaintiff’s designations of William Amor’s
deposition testimony in Olson v. Gomez et al are SUSTAINED:

      •   113:21-23, 114:20-24; 115:1-12
      •   120:13-21
      •   198:18-20

      The plaintiff’s following objection to the defendants’ counter designation of William
Amor’s deposition testimony in Olson v. Gomez et al is OVERRULED:

      •   259:10-13

          B.     Deposition in Reid

       The defendants’ following objections to the plaintiff’s designations of William Amor’s
deposition testimony in Reid are OVERRULED:

      •   21:22-22:4
      •   91:8-16
      •   100:14-101:2
      •   101:10-21
      •   113:16-24


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     •   118:17-119:5, 119:12-120:5

       The defendants’ following objection to the plaintiff’s designations of William Amor’s
deposition testimony in Reid are OVERRULED in part and SUSTAINED in part:

     •   77:3-4, 77:8-13: Overruled, except that the defendants may propose a limiting instruction
         for the introduction of this testimony.

         C.       Motion to Suppress Testimony

       The defendants’ following objection to the plaintiff’s designations of William Amor’s prior
testimony on the 1996 motion to suppress is OVERRULED:

     •   20:21-24

      The plaintiff’s following objection to the defendants’ counter designations of William
Amor’s prior testimony on the 1996 motion to suppress is OVERRULED:

     •   81:6-20

         D.       Bill Amor’s October 2015 Statement 1

        The plaintiff may make counter designations consistent with Rule 106. The statement will
not be admitted in its entirety.

V.       Michael Cross

         A.       Deposition in Olson v. Gomez et al

       The defendants’ following objections to the plaintiff’s designations of Michael Cross’s
deposition testimony in Olson v. Gomez et al are OVERRULED:

     •   9:19-24
     •   10:17-13:7
     •   14:6-7
     •   78:7-22
     •   105:13-18
     •   138:24-139:4
     •   162:23-163:4
     •   172:4-12
     •   209:12-210:12

       The defendants’ following objections to the plaintiff’s designations of Michael Cross’s
deposition testimony in Olson v. Gomez et al are SUSTAINED:


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             This statement is misidentified as having been taken in October 2016.


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   •   35:20-23
   •   50:21-51:19, 52:8-17
   •   89:20-90:23
   •   105:20-24
   •   161:2-18
   •   190:5-15
   •   200:11-15
   •   202:15-21
   •   214:21-216:19
   •   217:19-24
   •   234:12-17
   •   271:9-275:16
   •   277:7-14, 277:18-19
   •   277:24-278:6
   •   306:17-22

       The defendants’ following objections to the plaintiff’s designations of Michael Cross’s
deposition testimony in Olson v. Gomez et al are OVERRULED in part and SUSTAINED in
part:

   •   71:21, 71:24: Line 71:21 may not be included.
           o Amended designation: 71:24.
   •   81:1-85:12, 85:24-86:24: Lines 83:19-24 may not be included.
           o Amended designation: 81:1-83:18, 84:1-85:12, 85:24-86:24.
   •   138:9-20: Lines 138:9-14 may not be included.
           o Amended designation: 138:15-20.
   •   139:18-140:16: Lines 139:18-140:15 may not be included.
           o Amended designation: 140:16.
   •   204:19-205:11, 205:12-16, 205:22-206:2: Lines 204:19-205:1, 205:5-8 may not be
       included.
           o Amended designation: 205:2-4, 205:9-16, 205:20-206:2.
   •   291:1-7, 291:18-23: Lines 291:18-23 may not be included.
           o Amended designation: 291:1-7.

       The plaintiff’s following objections to the defendants’ counter designations of Michael
Cross’s deposition testimony in Olson v. Gomez et al are OVERRULED:

   •   6:6-14
   •   17:7-18
   •   22:10-24
   •   42:7-9
   •   46:5-47:9
   •   47:12-48:5
   •   97:14-98:2, 98:10-19
   •   121:16-124:2


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   •   124:11-126:3
   •   129:13-21
   •   293:18-294:3
   •   295:22-296:5
   •   310:21-311:8
   •   315:20-316:21
   •   317:2-10
   •   317:12-318:11

       The plaintiff’s following objections to the defendants’ counter designations of Michael
Cross’s deposition testimony in Olson v. Gomez et al are SUSTAINED:

   •   34:19-35:15
   •   73:2-75:7
   •   127:21-128:10
   •   130:10-131:7
   •   131:16-132:6
   •   245:8-246:23

       The plaintiff’s following objections to the defendants’ counter designations of Michael
Cross’s deposition testimony in Olson v. Gomez et al are OVERRULED in part and
SUSTAINED in part:

   •   75:17-77:2, 77:6-16: Lines 77:1-2 may not be read.
          o Amended designation: 75:17-76:24, 77:6-16.
   •   231:11-19: All of lines 231:6-23 must be read.
          o Amended designation: 231:6-23.

       B.     Motion to Suppress Testimony

        The plaintiff’s following objections to the defendants’ designations of Michael Cross’s
prior testimony on the 1996 motion to suppress are OVERRULED:

   •   20:15-22
   •   38:24-39:14
   •   42:16-43:9
   •   45:13-16
   •   48:23-51:20
   •   60:13-23
   •   89:11-21

        The plaintiff’s following objections to the defendants’ designations of Michael Cross’s
prior testimony on the 1996 motion to suppress are SUSTAINED:

   •   28:4-12
   •   38:6-16


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       C.      1997 Trial Testimony

        The defendants’ following objections to the plaintiff’s designations of Michael Cross’s
prior testimony in the 1997 trial are OVERRULED:

   •   138:16-139:15
   •   156:19-158:2

       The plaintiff’s following objection to the defendants’ designations of Michael Cross’s prior
testimony in the 1997 trial is OVERRULED:

   •   104:9-12

       The plaintiff’s following objection to the defendants’ designations of Michael Cross’s prior
testimony in the 1997 trial is SUSTAINED:

   •   134:5-6




 Date: June 22, 2024                                       John J. Tharp, Jr.
                                                           United States District Judge




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